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      ALDRIDGE PITE, LLP
      3333 Camino del Rio South
      Suite 225
      San Diego CA 92108
      Telephone: (858) 750-7600
      Facsimile: (619) 590-1385




                                UNITED STATES BANKRUPTCY COURT
                    MIDDLE DISTRICT OF PENNSYLVANIA - WILLIAMSPORT
      In re                                           Case No. 4:22-bk-00210-MJC
      JANELLE KATHLEEN DIPARLO,                       Chapter 13
                       Debtor(s).                     PROOF OF SERVICE


              I, Julie E. Madrid, declare that:

              I am employed by Aldridge Pite, LLP. My business address is: 3333 Camino del Rio
     South, Suite 225, San Diego CA 92108. I am over the age of eighteen years and not a party to

     this cause.

              On October 29, 2024, I caused the NOTICE OF MORTGAGE PAYMENT CHANGE to
     be served in said case by electronic means through the court’s CM/ECF system or through United
     States Mail, addressed as follows: SEE ATTACHED SERVICE LIST.

              I declare under penalty of perjury that the foregoing is true.


                                                     /s/Julie E. Madrid
                                                     JULIE E. MADRID




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                                          SERVICE LIST

     DEBTOR(S)
     (VIA US MAIL)
     Janelle Kathleen Diparlo
     345 Fisher St
     Williamsport, PA 17702-7005


     DEBTOR(S) ATTORNEY
     (VIA ELECTRONIC NOTICE)
     Erik Mark Helbing


     CHAPTER 13 TRUSTEE
     (VIA ELECTRONIC NOTICE)
     Jack N Zaharopoulos


     ASST U.S. TRUSTEE
     (VIA ELECTRONIC NOTICE)
     United States Trustee




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